This document was signed electronically on September 25, 2016, which may be different from its
entry on the record.


IT IS SO ORDERED.

Dated: September 25, 2016




                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION



In Re:                                         ) IN PROCEEDINGS UNDER
                                               ) CHAPTER 7
JAMES RONALD BURNS                             )
                                               ) CASE NO. 15-52933-amk
                Debtor.                        )
                                               ) JUDGE ALAN M. KOSCHIK
                                               )
*        *      *       *      *       *       )      *     *    *     * *                    *
                                               )
KENNETH B. KREITZBURG                          ) ADVERSARY PROCEEDING
                                               ) No. 16-05022
                Plaintiff,                     )
                                               )
                vs.                            ) AGREED JUDGMENT ENTRY
                                               )
JAMES RONALD BURNS                             )
                                               )
                Defendant.                     )


         This Court having been apprised that the parties have by their signatures hereon agreed to

the entry of judgment as follows herein, it is hereby agreed, adjudged and decreed as follows:

         1.     This is a core proceeding over which this Court has jurisdiction under Title 28 U.S.C.

Section 157(b).
        2.      This Court also has jurisdiction over this proceeding pursuant to Title 28 U.S.C.

Section 1334, in that this proceeding arises in bankruptcy case no. 15-52933-amk filed by James

Ronald Burns under Chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for

the Northern District of Ohio, Eastern Division.

        3.      Plaintiff is a creditor of Defendant, who is the debtor in this Chapter 7 case.

        4.      Defendant is indebted to Plaintiff in the sum of Thirty Five Thousand Dollars

($35,000.00), plus court costs in the amount of Two Hundred Thirty Dollars ($230.00), plus simple

interest calculated on the unpaid portion of the sum of the foregoing at the rate of ten percent (10%)

per annum from and after July 21, 2005, less the payments made in the amounts and on the dates
hereinafter set forth, as a result of the acts willfully committed by Defendant to the injury of Plaintiff

as determined in the judgment entered against Defendant and in favor of Plaintiff on July 21, 2005

by the Summit County Court of Common Pleas, in Case No. CV2003-11-6907, which judgment is

a valid and subsisting judgment in said sum against Defendant and in favor of Plaintiff and as a

result of such willfully committed acts is non-dischargeable and excepted from discharge pursuant

to 11 U.S.C. Sections 523(a)(2)(A) and 523(a)(6).

        5.      Payments on account of such Judgment in the following amounts were made by

Defendant and received by Plaintiff on the following dates:

        DATE                    AMOUNT                           DATE                    AMOUNT

        08/05/05                $1,000.00                        10/16/07                $ 300.00
        09/13/05                   300.00                        11/26/07                  300.00
        10/06/05                   300.00                        01/08/08                  300.00
        11/23/05                   300.00                        01/16/08                  300.00
        12/14/05                   300.00                        02/18/08                  300.00
        01/05/06                   300.00                        03/17/08                  300.00
        02/09/06                   300.00                        04/28/08                  300.00
        03/05/06                   300.00                        05/27/08                  300.00
        04/06/06                   300.00                        06/27/08                  300.00
        05/10/06                   300.00                        07/18/08                  300.00
        06/10/06                   300.00                        09/02/08                  300.00
        07/03/06                   300.00                        10/09/08                  600.00
        08/10/06                   300.00                        12/02/08                  300.00
        09/08/06                   300.00                        01/09/09                  600.00
        10/09/06                   300.00                        02/25/09                  300.00
        11/03/06                   300.00                        04/27/09                  600.00
        12/12/06                   300.00                        06/05/09                  600.00

                                                    2
       01/10/07                    300.00                     08/27/09                  300.00
       02/26/07                    300.00                     11/02/09                  600.00
       03/13/07                    300.00                     01/27/10                  600.00
       04/16/07                    300.00                     05/10/10                  600.00
       05/14/07                    300.00                     06/28/10                  300.00
       06/19/07                    300.00                     07/07/10                  300.00
       07/19/07                    300.00                     01/26/11                  200.00
       08/21/07                    300.00
       09/08/07                    300.00

       6.       Defendant is barred from and agrees not to in any way oppose any attempt by Plaintiff

to secure relief from the stay of 11 U.S.C. Section 362.

       7.       The costs of this action shall be borne by Defendant.

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Submitted by:

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/s/ Kenneth B. Kreitzburg
Kenneth B. Kreitzburg, Plaintiff
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Tallmadge, Ohio 44278


PARTIES TO BE SERVED ELECTRONICALLY:

Kathryn Belfance, Trustee


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